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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

JULIE LOPEZ,                                         §
                                                     §
                Plaintiff,                           §
                                                     §
v.                                                   §                    1:20-CV-820-RP
                                                     §
TAC ACCEPTANCE GROUP, LLC, et al.,                   §
                                                     §
                Defendants.                          §

                                                ORDER

        Before the Court is Defendant TAC Acceptance Group, LLC’s (“TAC”) Motion to Dismiss

and Compel Arbitration (the “Motion”). (Dkt. 13). Plaintiff Julia Lopez (“Lopez”) filed a Notice of

Non-Opposition (“Notice”). (Dkt. 16). In her Notice, Lopez states that she does not object to

arbitration of her claims against TAC. (Id. at 1). However, pursuant to Section 3 of the Federal

Arbitration Act, Lopez asks that this Court stay proceedings rather than dismiss her claims against

TAC. (Id.). The Federal Arbitration Act provides that a federal court should stay a civil action upon

finding that an issue is referrable to arbitration. 9 U.S.C. § 3. The Court therefore finds that a stay is

appropriate in this case.

        For these reasons, IT IS ORDERED that TAC’s Motion to Dismiss and Compel

Arbitration, (Dkt. 13), is GRANTED IN PART.

        IT IS FURTHER ORDERED that Lopez’s claims against TAC are STAYED pending

arbitration.




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       IT IS FINALLY ORDERED that the parties shall file a joint status report detailing the

status of the arbitration proceedings on February 5, 2021, and every 120 days thereafter.

         SIGNED on November 5, 2020.



                                              _____________________________________
                                              ROBERT PITMAN
                                              UNITED STATES DISTRICT JUDGE




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